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Attendance Record

MDL-2179 Oil Spill by the Oil Rig
“Deepwater Horizon”

Hearings—February 26, 2014

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